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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 DENIS MARC AUDET, et al.,                         Civil Action No. 3:16-cv-00940

                               Plaintiffs,         Honorable Michael P. Shea

                       vs.

 STUART A. FRASER, GAW MINERS,                     June 13, 2018
 LLC, and ZENMINER, LLC,

                               Defendants.



                    NOTICE OF MOTION TO COMPEL DISCOVERY

       Pursuant to Federal Rule of Civil Procedure 37(a) and Local 37, Defendant Stuart A.

Fraser hereby moves this Court for entry of an order compelling Plaintiffs to produce notes

responsive to Defendant’s Requests for Production of Documents dated November 2, 2017 for

the reasons set forth in the accompanying Memorandum of Law in Support of Defendant Stuart

A. Fraser’s Motion to Compel Discovery.



Dated: June 13, 2018

                                                    Respectfully submitted,

                                                    HUGHES HUBBARD & REED LLP

                                                    By: /s Sarah L. Cave_

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                                 CERTIFICATE OF SERVICE


        I hereby certify that on June 13, 2018, a copy of the foregoing Notice of Motion to
Compel Discovery was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the
Court’s electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.


                                              Respectfully submitted,

                                              s/ Sarah L. Cave__

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